Case 1:21-cv-02146-WJM Document 58 Filed 01/27/23 USDC Colorado Page 1 of 33




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 1:21-cv-02146-REB

AMERICAN WILD HORSE CAMPAIGN, et al.

               Petitioners,

       v.

DEBRA HAALAND, et al.

               Respondents.


                               PETITIONERS’ REPLY BRIEF

                                   Oral Argument Requested 1




1
  Merits briefing is now complete. Because the parties have an interest in timely resolution of
this matter, Petitioners respectfully request that the Court terminate designation of this matter
as an AP case and assign it under D.C.COLO.LCivR 40.1 for prompt resolution.
Case 1:21-cv-02146-WJM Document 58 Filed 01/27/23 USDC Colorado Page 2 of 33




                                                     TABLE OF CONTENTS

TABLE OF AUTHORITIES ....................................................................................................... ii

GLOSSARY................................................................................................................................... v

INTRODUCTION......................................................................................................................... 1

   I.     BLM’S JURISDICTIONAL DEFENSES FAIL ............................................................. 2

        A.       Petitioners’ Challenge Is Not Time-Barred.............................................................. 2

        B.       Petitioners Have Standing.......................................................................................... 5

          1.     Injury-in-fact ................................................................................................................. 5

          2.     Causation and Redressability...................................................................................... 10

        C.       The AIP is Final Agency Action Subject to Judicial Review ................................ 12

   II.         THE AIP IS ARBITARY, CAPRICIOUS, AND CONTRARY TO LAW ............. 14

        A.       The AIP Violated the APA....................................................................................... 14

        B.       The AIP Violates NEPA ........................................................................................... 19

          1.     The AIP Is a New Nationwide Program ..................................................................... 19

          2.     BLM Invoked a CE that Does Not Apply to the AIP ................................................. 20

          3.     Extraordinary Circumstances Preclude Use of a CE .................................................. 23

        C.       The AIP Is Arbitrary and Capricious..................................................................... 24

   III.        VACATUR IS THE PROPER REMEDY ................................................................. 26

CONCLUSION ........................................................................................................................... 27




                                                                        i
Case 1:21-cv-02146-WJM Document 58 Filed 01/27/23 USDC Colorado Page 3 of 33




                                               TABLE OF AUTHORITIES

                                                                                                                                Page(s)

Cases

Am. Wild Horse Pres. Campaign v. Jewell,
   847 F.3d 1174 (10th Cir. 2016) .................................................................................................8

Am. Wild Horse Pres. Campaign v. Perdue,
   873 F.3d 914 (D.C. Cir. 2017) .................................................................................................24

Andrus v. Sierra Club,
   442 U.S. 347 (1979) .................................................................................................................23

Appalachian Power Co. v. EPA,
   208 F.3d 1015 (D.C. Cir. 2000) ...............................................................................................19

Aransas Proj. v. Shaw,
   775 F.3d 641 (5th Cir. 2014) .....................................................................................................7

Bennett v. Spear,
   520 U.S. 154 (1997) ...........................................................................................................12, 14

Chiang v. Kempthorne,
   503 F. Supp. 2d 343 (D.D.C. 2007) .........................................................................................12

Comm. to Save the Rio Hondo v. Lucero,
  102 F.3d 445 (10th Cir. 1996) .............................................................................................8, 11

Common Cause of Colo. v. Buescher,
  750 F. Supp. 2d 1259 (D. Colo. 2010) .....................................................................................10

Cure Land, LLC v. U.S. Dep’t of Agric.,
   833 F.3d 1223 (10th Cir. 2016) ...............................................................................................14

East v. Clayton Cnty.,
   436 F. App’x 904 (11th Cir. 2011) ..........................................................................................17

Friedman Bros. Inv. Co. v. Lewis,
    676 F.2d 1317 (9th Cir. 1982) .................................................................................................14

Friends of Animals v. Pendley,
    523 F. Supp. 3d 39 (D.D.C. 2021) .........................................................................15, 16, 17, 18

Friends of the Earth, Inc. v. Laidlaw Envtl. Servs., Inc.,
    528 U.S. 167 (2000) ...................................................................................................................8



                                                                    ii
Case 1:21-cv-02146-WJM Document 58 Filed 01/27/23 USDC Colorado Page 4 of 33




Fund for Animals v. Lujan,
   962 F.2d 1391 (9th Cir. 1992) ...................................................................................................7

Getty v. Fed. Sav. & Loan. Ins. Corp.,
   805 F.2d 1050 (D.C. Cir. 1986) ...............................................................................................23

High Cty. Conservation Advocs. v. U.S. Forest Serv.,
   951 F.3d 1217 (10th Cir. 2020) ...............................................................................................26

Initiative & Reform Inst. v. Walker,
    450 F.3d 1082 (10th Cir. 2006) .................................................................................................5

Int’l Bhd. of Teamsters v. U.S. Dep’t of Transp.,
    861 F.3d 944 (9th Cir. 2017) .....................................................................................................4

Kleppe v. Sierra Club,
   427 U.S. 390 (1976) .................................................................................................................22

La. Crawfish Prods. Ass’n-W. v. Rowan,
    463 F.3d 352 (5th Cir. 2006) ...............................................................................................4, 21

Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co.,
   463 U.S. 29 (1983) .............................................................................................................23, 26

Olenhouse v. Commodity Credit Corp.,
   42 F.3d 1560 (10th Cir. 1994) ...................................................................................................7

Or.-Cal. Trails Ass’n v. Walsh,
   467 F. Supp. 3d 1007 (D. Colo. 2020) .....................................................................................27

PETA v. U.S. Department of Agriculture,
   797 F.3d 1087 (D.C. Cir. 2015) ...........................................................................................9, 10

Pub. Emps. for Envtl. Resp. v. Nat’l Park Serv.,
   No. 19-cv-3629, 2022 WL 1657013 (D.D.C. May 24, 2022)............................................21, 22

Rocky Mountain Wild v. Dallas,
   No. 19-cv-1512, 2022 WL 11733139 (D. Colo. Oct. 20, 2022) ..............................................26

S. Utah Wilderness All. v. BLM,
    551 F. Supp. 3d 1226 (D. Utah 2021) ............................................................................7, 14, 23

Sierra Club v. U.S. Dep’t of Energy,
    287 F.3d 1256 (10th Cir. 2002) ...............................................................................................11

Tozzi v. U.S. Dep’t of Health & Human Servs.,
   271 F.3d 301 (D.C. Cir. 2001) .................................................................................................11



                                                                   iii
Case 1:21-cv-02146-WJM Document 58 Filed 01/27/23 USDC Colorado Page 5 of 33




Utah Envtl. Cong. v. Russell,
   518 F.3d 817 (10th Cir. 2008) .................................................................................................21

W. Watersheds Proj. v. Zinke,
   441 F. Supp. 3d 1042 (D. Idaho 2020) ........................................................................12, 18, 19

WildEarth Guardians v. BLM,
   870 F.3d 1222 (10th Cir. 2014) .................................................................................................8

Wilderness Soc’y v. Wisely,
   524 F. Supp. 2d 1285 (D. Colo. 2007) .....................................................................................14

Wilderness Watch v. Mainella,
   375 F.3d 1075 (11th Cir. 2004) ...............................................................................................21

Statutes

5 U.S.C. § 706 ................................................................................................................................26

16 U.S.C. § 1333 ............................................................................................................................17

Pub. L. No. 116-94, 133 Stat. 2534 (2019) ....................................................................................25

Regulations

43 C.F.R. § 4.410 ...........................................................................................................................18

43 C.F.R. § 46.210 .........................................................................................................................21

43 C.F.R. § 4700.0-6......................................................................................................................16




                                                                       iv
Case 1:21-cv-02146-WJM Document 58 Filed 01/27/23 USDC Colorado Page 6 of 33




                                     GLOSSARY

AIP         Adoption Incentive Program

APA         Administrative Procedure Act

BLM         Bureau of Land Management

CE          Categorical Exclusion

EA          Environmental Assessment

EIS         Environmental Impact Statement

FOIA        Freedom of Information Act

IM          Instruction Memorandum

NEPA        National Environmental Policy Act




                                             v
Case 1:21-cv-02146-WJM Document 58 Filed 01/27/23 USDC Colorado Page 7 of 33




                                        INTRODUCTION

       Petitioners previously explained the specific, concrete ways the Bureau of Land

Management’s (“BLM”) Adoption Incentive Program (“AIP”) has fundamentally altered wild

horse management since 2019 by: (1) financially incentivizing their widespread adoption by

adopters motivated by money; (2) exposing many wild horses to neglect, malnourishment, and

inhumane treatment by adopters while they await title; (3) providing a means for adopters to

obtain title and then sell horses into the slaughter pipeline; (4) forcing Petitioners to counteract

these activities by rescuing as many horses as possible before their deaths; and (5) shifting

BLM’s newfound funds to remove many more horses from the wild. These foreseeable impacts

have resulted in immense environmental consequences to federally protected wild horses and

other users of the public range, and have severely injured Petitioners and impaired their interests

in protecting these animals from inhumane treatment and slaughter as Congress intended.

       In response, BLM engages in revisionist history and disregards key facts in downplaying

the monumental effects of the AIP. For instance, BLM asserts that Petitioners’ challenge is time-

barred because the agency previously attempted to incentivize wild horse adoptions through

time-limited, geographically restricted pilot programs. Likewise, BLM contends that Petitioners

lack standing because they speculate about AIP-adopted horses entering the slaughter pipeline;

however, the record is replete with documentation of this fact. Because these fatally flawed

assumptions go to the core of BLM’s jurisdictional and merits arguments, the agency has not

remotely demonstrated that its creation and modification of the AIP are consistent with the

Administrative Procedure Act (“APA”), 5 U.S.C. §§ 701-706, or the National Environmental

Policy Act (“NEPA”), 42 U.S.C. §§ 4321-4347. As a result, the Court should vacate the

challenged Instruction Memoranda (“IMs”) and remand them to BLM for further consideration.
Case 1:21-cv-02146-WJM Document 58 Filed 01/27/23 USDC Colorado Page 8 of 33




I.     BLM’S JURISDICTIONAL DEFENSES FAIL

       Evidently recognizing its vulnerability on the merits, BLM expends substantial effort on

threshold matters to avoid the Court reaching the legality of the AIP. None of BLM’s

jurisdictional defenses withstands scrutiny.

       A.      Petitioners’ Challenge Is Not Time-Barred

       Petitioners challenge the 2019 creation and 2022 modification of the nationwide AIP,

which is the agency action that caused an exponential increase in wild horses entering the

slaughter pipeline. See Declaration of Suzanne Roy (“Roy Decl.”), ECF No. 46-1, ¶¶10, 19-27;

Declaration of Clare Staples (“Staples Decl.”), ECF No. 46-4, ¶¶18-20, 22-28; Declaration of

Candace Ray (“Ray Decl.”), ECF No. 46-5, ¶¶11-15. In addition to their declarations, Petitioners

have prepared multiple reports documenting in extensive detail that BLM’s creation of the

nationwide AIP has, in fact, resulted in many wild horses entering the slaughter pipeline. See

BLM_003751-59 (identifying “more than 90 wild horses and burros at eight different livestock

auctions, across five different states, all known to sell horses to kill buyers for slaughter”);

BLM_003912-3957 (substantiating the “[i]nflux” of dozens of wild horses in kill pens after the

AIP); ECF No. 46-2 at 8 (updating investigatory report findings and “confirm[ing] 312 [wild

horses in kill pens since September 2020] as adopted through the AIP”).

       Shifting the focus away from the AIP, BLM asserts that Petitioners’ challenge is time-

barred because BLM undertook pilot programs in 2001 and 2009 involving cash incentives for

adoption, and thus the nationwide AIP is merely an expansion of those earlier efforts. See ECF

No. 50 at 27-29. In turn, BLM asserts that Petitioners should have challenged BLM’s adoption

cash incentives years ago. This contention is unpersuasive for several reasons.




                                                   2
Case 1:21-cv-02146-WJM Document 58 Filed 01/27/23 USDC Colorado Page 9 of 33




       To begin with, the two prior pilot programs were not comparable to the AIP in duration

or scope. The 2001 “Wyoming Wild Horse Pilot Project” was “limited to Wyoming” and “was

hindered by a lack of upfront funding and a lack of interest.” Id. at 9; see also BLM_00001.

Hence, BLM never intended to implement that project permanently or nationwide, and the

outcome of that project did not harm Petitioners’ interests because there was “a lack of interest”

and few adoptions (and thus even fewer, if any, horses entering the slaughter pipeline).

       Similarly, BLM advertised the 2009 “pilot program” as limited to New Mexico for a

duration of approximately “two years.” BLM_000285-87. And BLM made clear that it would

offer only $500 for adoption under that program (i.e., 50% of the AIP incentive). BLM_000307-

12. Like the 2001 pilot project, the 2009 version was mostly unsuccessful in adopting horses and

therefore did not result in many adoptions or a notable increase in horses entering the slaughter

pipeline. See BLM_1480 (explaining in 2016 that “[o]ver the last 10 years, adoptions have

steadily declined to a low of 2,135 animals in 2014 . . . . compared to 6,644 in FY 2004”).

Accordingly, it would have been unreasonable for Petitioners to sue BLM in 2001 or 2009, at

which point Petitioners neither knew that BLM would one day promulgate a nationwide AIP, nor

yet understood the parameters of any such hypothetical program and how it might impair their

interests in any concrete or specific way. 2

       Underscoring the fundamental differences between the time-limited, geographically

restricted pilot projects and the permanent, nationwide AIP is the fact that BLM called the earlier

actions pilot projects. See, e.g., BLM_000007-16 (referring to the “Wyoming Wild Horse Pilot



2
  The extremely low rate of cash-incentivized adoptions prior to the 2019 AIP is highlighted by
the fact that less than 200 horses annually were adopted through such means in FY2010-FY2017.
See BLM_003971-72 (noting that only 1,575 horses “were incentivized” during this period).
This slow trickle of incentivized horses was not enough for Petitioners to discern any meaningful
increase in such horses entering the slaughter pipeline.
                                                 3
Case 1:21-cv-02146-WJM Document 58 Filed 01/27/23 USDC Colorado Page 10 of 33




 Project”); BLM_000285-87 (outlining the “Pilot Program Administered by the New Mexico

 State Office”). By definition, a “pilot” program serves as “a trial apparatus or operation.” Pilot,

 MERRIAM-WEBSTER DICTIONARY (online ed. 2022). As merely “trial” projects, neither BLM nor

 the public knew, either in 2001 or in 2009, whether BLM would ever establish a permanent, let

 alone nationwide, cash incentive program for adoptions. Indeed, BLM itself clarified that it could

 undertake such action only after analyzing data from the pilot projects to determine whether and

 how to proceed. See BLM_000208 (noting that “[a] pilot project would enable us to generate

 hard data to gauge public support, identify kinks, [and] refine the concept”); BLM_000531

 (“BLM plans to evaluate the analysis of the [2009 pilot] program . . . and determine whether or

 not . . . to continue it and whether or not it should be applied nationwide.”).

        Conspicuously, not only does BLM fail in its brief to accurately characterize the 2001

 and 2009 efforts as pilot projects, but it also fails to cite a single case in which the APA’s statute

 of limitations has barred a challenge to an agency-wide program due to the failure to challenge a

 prior small-scale pilot program. In fact, applicable precedent supports Petitioners’ common-sense

 view that a pilot project is not the same as an agency’s subsequent discretionary decision to

 create a nationwide program. For example, the Ninth Circuit dismissed a challenge to a pilot

 program report under the APA; although “it was the final step in completing the pilot program,

 clearing the way for [agency] permitting of Mexico-domiciled carriers,” “the report did not

 change the legal situation, because the [agency] maintained discretion over whether or not to

 begin issuing permits to Mexico-domiciled carriers.” Int’l Bhd. of Teamsters v. U.S. Dep’t of

 Transp., 861 F.3d 944, 952 (9th Cir. 2017); cf. La. Crawfish Prods. Ass’n-W. v. Rowan, 463 F.3d

 352, 355, 358 (5th Cir. 2006) (relieving an agency from NEPA analysis of future discretionary




                                                   4
Case 1:21-cv-02146-WJM Document 58 Filed 01/27/23 USDC Colorado Page 11 of 33




 projects because the lawsuit challenged only “a pilot project, and thus, future projects in the

 Atchafalaya Basin have yet to be developed”).

          The same is true here—nothing in the 2001 or 2009 pilots required BLM to establish a

 permanent, nationwide AIP. In 2019, BLM opted to create the AIP, but it could have declined to

 do so as well. Thus, had Petitioners sued in 2001 or 2009, their challenges could not have

 encompassed yet-to-be-taken actions within the agency’s future discretion (e.g., the AIP).

        B.      Petitioners Have Standing

        BLM also asserts that Petitioners cannot establish any of the elements of Article III

 standing to pursue this challenge. See ECF No. 50 at 14-18. These assertions are groundless.

                1.      Injury-in-fact

        In their declarations, Petitioners—nationally recognized wild horse advocacy

 organizations and individuals whose interests have been directly and adversely impaired by the

 AIP—set forth aesthetic, procedural, and organizational harms the AIP has caused them since

 2019. Each type of injury independently establishes standing here.

        As a threshold matter, BLM ignores the well-settled principle that “in reviewing the

 standing question, the court must be careful not to decide the questions on the merits for or

 against the plaintiff, and must therefore assume that on the merits the plaintiffs would be

 successful in their claims.” Initiative & Reform Inst. v. Walker, 450 F.3d 1082, 1093 (10th Cir.

 2006) (emphasis added) (quotation marks and citation omitted). Thus, the Court must assume for

 standing that BLM could not create or modify the AIP without notice-and-comment rulemaking

 or preparing an Environmental Impact Statement (“EIS”) or Environmental Assessment (“EA”).

 Set in this proper context, it is clear that Petitioners have asserted cognizable injuries.




                                                    5
Case 1:21-cv-02146-WJM Document 58 Filed 01/27/23 USDC Colorado Page 12 of 33




        First, Petitioners have represented—subject to penalty of perjury—that the AIP resulted

 in a sharp increase of BLM-branded wild horses being subjected to neglect, abuse, and inhumane

 treatment by adopters prior to title transfer, and then being sold into the slaughter pipeline by

 adopters after title transfer. See Roy Decl. ¶¶10, 19-27; Staples Decl. ¶¶18-20, 22-28; Ray Decl.

 ¶¶11-15. Petitioners’ (and the New York Times’) detailed investigative efforts then confirmed

 that many of these BLM-branded horses were AIP horses. See BLM_003751-59; BLM_003800-

 03; BLM_003912-57; ECF No. 46-2. These facts were verified through BLM’s own records

 obtained through the Freedom of Information Act (“FOIA”) and Petitioners’ first-hand

 observations of malnourished, injured animals in kill pens—horrific observations that inflicted

 severe psychological and emotional trauma to Petitioners and their members. See Roy Decl. ¶¶23

 (“[S]taff and volunteers have suffered immense psychological stress, anxiety, and nightmares

 from having to observe these inhumanely treated, malnourished, and sick wild animals at

 slaughter auctions, kill pens, and after rescue.”); Staples Decl. ¶20 (same); Ray Decl. ¶12 (same).

        In a single paragraph, BLM dismisses these injuries as speculative because there are no

 “baseline numbers of titled horses” sold by adopters between the 2009 pilot “and the issuance of

 the 2019 IM,” and because there is “no support whatsoever” that “these numbers are a significant

 increase from pre-2019 levels.” ECF No. 50 at 17. But BLM ignores Petitioners’ extensive first-

 hand observations verifying an exponential increase in wild horses entering the slaughter

 pipeline after BLM created the AIP, which tracks with the fact that the pre-2019 pilot programs

 did not significantly increase adoptions (and had little effect on the number of horses going to

 slaughter). See supra at 3. Put simply, the AIP changed the legal and practical regime governing

 wild horse adoptions (and entry into the slaughter pipeline) and injured Petitioners by paving the

 way for inhumanely treated animals to end up in kill pens requiring immediate (yet distressing)



                                                   6
Case 1:21-cv-02146-WJM Document 58 Filed 01/27/23 USDC Colorado Page 13 of 33




 rescue efforts by Petitioners to save them from certain death. See Fund for Animals v. Lujan, 962

 F.2d 1391, 1396-97 (9th Cir. 1992) (finding that an organization’s “members had standing to sue

 because of the psychological injury they suffered from viewing the killing of the bison” due to

 “[t]he distress experienced by [its] members viewing bison being killed is distinct from that

 suffered by the public at large”); Aransas Proj. v. Shaw, 775 F.3d 641, 648 (5th Cir. 2014)

 (expressing “little doubt” that an organization suffered cognizable injury by alleging deaths to

 birds and aesthetic injury to its members who observe and “enjoy them”). 3

        Second, Petitioners have interests in BLM using “more humane means of managing these

 animals” in lieu of mass removals from the range, or at least taking steps to reduce the likelihood

 of “serious injuries and deaths associated with the use of helicopters to round up horses for

 removal from the range.” Roy Decl. ¶7. But the logical outgrowth of the AIP—indeed its stated

 purpose—is to free up agency funding to remove more wild horses. See BLM_004921 (stating

 that the AIP will facilitate larger, more frequent removals by redirecting AIP savings to “on-

 range operations”). And, in fact, the AIP is doing just that. See BLM_005165 (“The AIP . . .

 helped [BLM] achieve a 15-year record for total placements [in 2019] of 7,104 animals. . . . That




 3
   BLM’s brief repeatedly characterizes Petitioners’ verified claims of rampant AIP fraud and
 abuse leading to wild horses in the slaughter pipeline as “unsubstantiated.” ECF No. 50 at 1; see
 also id. at 17. However, all of the information in the record on this point—including extensive
 investigatory reports from Petitioners, a detailed New York Times expose, and demands from
 Congress—unequivocally points to AIP horses repeatedly entering the slaughter pipeline. While
 BLM may prefer to wear blinders to inconvenient facts, the agency has neither conducted its own
 formal investigation, nor supplied any other record evidence proving that AIP horses are not, in
 fact, entering the slaughter pipeline. In the absence of any record evidence to the contrary, the
 Court must credit Petitioners’ declarations—submitted under penalty of perjury—and their
 detailed investigatory report in the record verifying that AIP horses are entering the slaughter
 pipeline. See, e.g., Olenhouse v. Commodity Credit Corp., 42 F.3d 1560, 1575 (10th Cir. 1994)
 (noting that “the ‘arbitrary or capricious’ standard requires an agency’s action to be supported by
 the facts in the record”; “[a]fter-the-fact rationalization by counsel in briefs or argument will not
 cure noncompliance by the agency with these principles”).
                                                  7
Case 1:21-cv-02146-WJM Document 58 Filed 01/27/23 USDC Colorado Page 14 of 33




 amounts to over $170 million in lifetime savings generated during Fiscal Year 2019 alone, in

 large measure due to the AIP.”). Indeed, BLM’s website states that from FY2012-FY2019, the

 agency annually removed an average of 5,635 wild horses; after the AIP that number nearly

 tripled to 14,894 horses annually from FY2020-FY2022. See BLM, Program Data: Removals,

 https://www.blm.gov/programs/wild-horse-and-burro/about-the-program/program-data.

 Assuming, as the Court must for standing, that this major increase in wild horse removals

 required NEPA review, Petitioners plainly have standing for this reason too. See, e.g., Am. Wild

 Horse Pres. Campaign v. Jewell, 847 F.3d 1174, (10th Cir. 2016) (holding that the American

 Wild Horse Campaign—a Petitioner here—may challenge a proposed BLM wild horse removal

 that would harm its interests under NEPA and the APA).

        Third, it is beyond legitimate dispute that the procedural harms asserted by Petitioners—

 i.e., BLM’s failure to engage in informed decisionmaking with notice and comment or subject to

 an EIS or EA—have increased the risk of wild horses entering the slaughter pipeline and induced

 larger wild horse removals, both implicating concerns “germane to [Petitioners’] interests.”

 Friends of the Earth, Inc. v. Laidlaw Envtl. Servs., Inc., 528 U.S. 167, 169 (2000). In addition,

 Petitioners’ members submitted declarations documenting the harms to their aesthetic interests in

 observing wild horses free from inhumane treatment, neglect, malnourishment, or slaughter. The

 Tenth Circuit has held these harms sufficient to establish injury-in-fact in NEPA and APA cases.

 See WildEarth Guardians v. BLM, 870 F.3d 1222, 1231 (10th Cir. 2014) (holding that

 organizations had injury-in-fact to bring NEPA claims based on “declarations from individual

 members establishing harms to their personal aesthetic and recreational interests”); Comm. to

 Save the Rio Hondo v. Lucero, 102 F.3d 445, 451-52 (10th Cir. 1996) (affirming injury-in-fact in




                                                  8
Case 1:21-cv-02146-WJM Document 58 Filed 01/27/23 USDC Colorado Page 15 of 33




 NEPA case based on affidavits showing that an agency’s “alleged uninformed decisionmaking”

 “has exposed [the plaintiffs’] interests to an increased risk of environmental harm”).

         Fourth, Petitioners have amply demonstrated another injury-in-fact by attesting that the

 AIP frustrates Petitioners’ core missions, drains their resources through efforts to counteract the

 AIP’s outcomes, and impairs their longstanding organizational priorities. See Roy Decl. ¶¶27-34;

 Staples Decl. ¶¶27-36; Ray Decl. ¶¶13-15. Importantly, BLM does not deny that Petitioners have

 spent hundreds of thousands of dollars beyond Petitioners’ normal budgeting outlays to

 counteract the harms of the AIP since 2019, including through rescuing from slaughter, healing,

 training, feeding, finding homes, and transporting AIP horses; obtaining and compiling records

 from BLM through FOIA to better understand the AIP’s outcomes; investigating the fate of AIP

 horses; and educating the public, Congress, and the media about the AIP and its outcomes.

         The cursory defense set forth by BLM is that “‘an organization’s use of resources for

 litigation, investigation in anticipation of litigation, or advocacy is not sufficient to give rise to an

 Article III injury.’” ECF No. 50 at 17 (quoting Food & Water Watch, Inc. v. Vilsack, 808 F.3d

 905, 919-20 (D.C. Cir. 2015). But that is not what occurred here. BLM can point to nothing in

 Petitioners’ declarations or the record indicating that Petitioners spent large portions (or any) of

 their organizational budgets prior to 2019 on adoption-related slaughter issues, nor is there any

 evidence that Petitioners engaged in investigatory activities merely to support litigation. Rather,

 this situation is functionally indistinguishable from another D.C. Circuit case—PETA v. U.S.

 Department of Agriculture, 797 F.3d 1087 (D.C. Cir. 2015). There, the court held that an animal

 welfare organization had standing where “the USDA’s allegedly unlawful conduct does hamper

 and directly conflicts with PETA’s stated mission of preventing cruelty and inhumane treatment

 of animals through, inter alia, public education and cruelty investigations,” which forced the



                                                    9
Case 1:21-cv-02146-WJM Document 58 Filed 01/27/23 USDC Colorado Page 16 of 33




 organization to previously expend $10,000 in staff time and then $3,000 each year pending court

 relief. Id. at 1095-96.

         If anything, organizational standing here is much clearer. Petitioners have expended

 hundreds of thousands of dollars specifically counteracting the AIP’s harms through

 investigatory, public education, and outreach work—money that Petitioners diverted from other

 organizational priorities to the severe detriment of their core missions. “[P]recedent makes plain

 that, if an organization expends resources in response to, and to counteract, the effects of the

 defendants’ alleged [unlawful conduct] rather than in anticipation of litigation, it has suffered a

 concrete and demonstrable injury that suffices for purposes of standing.” Id. at 1097 (internal

 quotation marks and citations omitted); see also Common Cause of Colo. v. Buescher, 750 F.

 Supp. 2d 1259, 1269 (D. Colo. 2010) (“An organization has standing to sue on its own behalf if

 the defendant’s illegal acts impair its ability to engage in its projects by forcing the organization

 to divert resources to counteract those illegal acts.” (quotation marks and citations omitted)).

         Accordingly, Petitioners have established injury-in-fact to challenge the AIP.

                 2.        Causation and Redressability

         The Court can easily dispense with BLM’s single paragraph contesting Petitioners’

 establishment of causation and redressability. See ECF No. 50 at 18.

         BLM asserts that the IMs creating and modifying the AIP are not essential for adoption

 cash incentives because BLM could incentivize adoption in the absence of the IMs. Id. But for

 standing purposes, the Court must assume that Petitioners will prevail on the merits—i.e., that

 the IMs required notice-and-comment procedures under the APA and an EIS or EA under

 NEPA. Likewise, despite BLM’s attempt to recast Petitioners’ injuries as caused by third parties

 (i.e., fraudulent adopters), id., it is clear that the agency’s uninformed creation of the AIP in



                                                   10
Case 1:21-cv-02146-WJM Document 58 Filed 01/27/23 USDC Colorado Page 17 of 33




 2019, which may well have taken a different course of action if subjected to the necessary legal

 procedures, increased the risk of more adoptions, a massive influx of wild horses in the slaughter

 pipeline, and substantially larger wild horse removals that all injure Petitioners’ interests. See

 Comm. to Save the Rio Hondo, 102 F.3d at 452 (explaining that “to establish causation” under

 NEPA, “the plaintiff need only trace the risk of harm to the agency’s alleged failure to follow

 [NEPA’s] procedures”). Finally, BLM’s contention that Petitioners’ redressability is based on

 pure speculation of horses entering the slaughter pipeline once again overlooks the fact that all

 record evidence establishes that AIP horses are entering the slaughter pipeline in large numbers. 4

        In any event, in NEPA and APA cases, “‘the normal standards for redressability’ are

 relaxed; a plaintiff need not establish that the ultimate agency decision would change upon

 [NEPA] compliance.” Id., 102 F.3d at 452 (quoting Defs. of Wildlife v. Lujan, 504 U.S. 555, 572

 n.7 (1992)). Because Petitioners represent that their injuries would be redressed by a court order

 vacating the AIP and requiring BLM to comply with the procedures set forth in NEPA and the

 APA, see Roy Decl. ¶35; Staples Decl. ¶¶31, 36; Ray Decl. ¶16, Circuit precedent compels the

 conclusion that Petitioners have standing. See, e.g., Sierra Club v. U.S. Dep’t of Energy, 287

 F.3d 1256, 1265-66 (10th Cir. 2002) (“The alleged injury is the potential environmental impact

 of an uninformed decision to” proceed with an action. “This injury is redressable by a court order

 requiring the [agency] to undertake an NEPA . . . analysis in order to better inform itself of the

 consequences of its decision.”).



 4
   Where a plaintiff’s “alleged injury flows not directly from the challenged agency action, but
 rather from independent actions of third parties,” a plaintiff need establish “only a showing that
 the agency action is at least a substantial factor motivating the third parties’ actions.” Tozzi v.
 U.S. Dep’t of Health & Human Servs., 271 F.3d 301, 308 (D.C. Cir. 2001). Obviously, for an
 adopter that is motivated to adopt a wild horse solely for financial gain, “the agency action” of
 offering a cash incentive for adoption “is at least a substantial factor motivating the third parties’
 actions” of adopting and later disposing of that horse in a completely foreseeable manner.
                                                   11
Case 1:21-cv-02146-WJM Document 58 Filed 01/27/23 USDC Colorado Page 18 of 33




        C.      The AIP is Final Agency Action Subject to Judicial Review

        BLM also asserts that the AIP is not final agency action. See ECF No. 50 at 19-20. This

 fares no better than its other contentions.

        There are several reasons why BLM’s creation and modification of the AIP constitute

 final agency action. First, the IMs, which “outline[] policies and procedures for administering the

 [AIP],” BLM_004919, “mark[] the consummation of [BLM’s] decision-making process” with

 regard to the first-ever permanent, nationwide AIP and are not “merely tentative or

 interlocutory.” Bennett v. Spear, 520 U.S. 154, 177 (1997). Under comparable facts where BLM

 has issued IMs stating that they are “effective immediately” and directing them to “[a]ll [BLM]

 Field Office Officials,” BLM_004921 (emphases added), courts have found that those IMs are

 not “provisional guidance” and instead are final agency actions. See W. Watersheds Proj., 441 F.

 Supp. 3d 1042, 1062 (D. Idaho 2020); see also Chiang v. Kempthorne, 503 F. Supp. 2d 343, 350

 (D.D.C. 2007) (finding that an action “easily satisfy[ied] the first prong of the final action test”

 because it was “effective immediately”). Importantly, BLM does not contest this prong of the

 final agency action test under Bennett. See ECF No. 50 at 19-20.

        Second, by establishing the first-ever permanent, nationwide cash incentive adoption

 program, these IMs determined “rights or obligations,” and had “legal consequences.” See

 Bennett, 520 U.S. at 177–78. See ECF No. 46 at 23-24. In contrast to the first Bennett prong,

 BLM contests the second prong on the basis that “because the practice of offering cash

 incentives had been in place since at least 2009,” the agency’s “issuance of the IMs created

 neither a new right for individuals to obtain federal funding associated with the adoption of a

 wild horse or burro, nor a new obligation for BLM to issue payments of federal funding to

 adopters of wild horses.” ECF No. 50 at 20 (citation omitted).



                                                   12
Case 1:21-cv-02146-WJM Document 58 Filed 01/27/23 USDC Colorado Page 19 of 33




         However, as explained, see supra at 2-5, BLM conflates the time-limited pilot projects in

 Wyoming and New Mexico with the subsequent, entirely separate action challenged here—i.e.,

 BLM’s decision, for the first time ever, to create a permanent, nationwide AIP through IM 2019-

 025. In that light, there can be no dispute that the IMs satisfy Bennett’s second prong. Before the

 IMs, there was no nationwide program conferring any right to federal cash incentives for

 adoptions of wild horses; after the IMs, every eligible adopter has the right to obtain a $1000

 cash incentive (of which BLM must notify the adopter at the time of adoption). See

 BLM_004920-21 (stating that “[a]t the time of adoption, authorized BLM personnel should ask

 the adopter if they intend to participate in the AIP”; if so, the agency “should issue incentive

 payments via electronic funds transfer (EFT) within 60 days of receipt of all completed

 paperwork”). And under the IMs, the determination of an adopter’s ineligibility affords the

 adopter due process rights that have no purpose or legal import aside from the AIP. See

 BLM_004927 (conferring due process rights when BLM determines “[y]ou are no longer eligible

 to participate in the AIP,” but limiting those rights to the adopter’s “ineligibility to participate in

 the AIP” rather than wild horse adoptions or cash incentives writ large (emphasis added)). 5

         BLM’s brief also highlights yet another reason that legal consequences flow from the

 IMs. As it acknowledges, BLM concluded that IM 2022-14 triggered NEPA review, although in

 the agency’s view BLM complied with NEPA by invoking a categorical exclusion (“CE”) and

 determining that BLM need not prepare an EIS or EA. See ECF No. 50 at 34 (defending BLM’s

 reliance on a CE and stating that “CEs are a form of NEPA compliance” (citation omitted)). That

 BLM itself affirmed the applicability of NEPA to IM 2022-014 demonstrates, under Bennett, that



 5
  Whether or not the 2001 pilot project in Wyoming and the 2009 pilot program in New Mexico
 were reviewable final agency actions in their own right is legally irrelevant and practically
 distinct from the separate final action BLM took in issuing IM 2019-025.
                                                   13
Case 1:21-cv-02146-WJM Document 58 Filed 01/27/23 USDC Colorado Page 20 of 33




 the IMs have legal consequences. See S. Utah Wilderness All. v. BLM, 551 F. Supp. 3d 1226,

 1229 (D. Utah 2021) (holding that “[l]egal consequences of a[] . . . decision also appear to flow

 to BLM because it triggers BLM’s duties to prepare NEPA . . . analyses” (emphasis added)).

        Even if the IMs were not final agency action—and they plainly are—BLM’s decision not

 to prepare an EIS or EA, and instead to invoke a CE for IM 2022-14, is indisputably final agency

 action. See Cure Land, LLC v. U.S. Dep’t of Agric., 833 F.3d 1223, 1230-32 (10th Cir. 2016)

 (holding that the decision not to prepare an EIS satisfies the Bennett test because it “determines

 the parties’ respective ‘rights and obligations,’ and is an action from which legal consequences

 flow”); Wilderness Soc’y v. Wisely, 524 F. Supp. 2d 1285, 1299 (D. Colo. 2007) (Krieger, J.)

 (finding decision not to prepare EIS both final and of legal consequence); Friedman Bros. Inv.

 Co. v. Lewis, 676 F.2d 1317, 1319-20 (9th Cir. 1982) (concluding that CE is reviewable final

 action even though the agency had not yet “made a final commitment to fund construction,”

 because in the CE “the agency has spoken its last word on the project’s environmental impact”).

        Accordingly, the IMs and their accompanying CE constitute final agency actions subject

 to judicial review.

 II.    THE AIP IS ARBITARY, CAPRICIOUS, AND CONTRARY TO LAW

        Stripped of its jurisdictional arguments, BLM is left with little of substance to defend the

 merits of BLM’s IMs and CE.

 A.     The AIP Violated the APA

        Petitioners previously explained that BLM’s creation of a permanent, nationwide

 program governing cash-incentivized adoptions of federally protected wild horses violated the

 APA by failing the requirement to subject agency programs and policies to notice-and-comment

 procedures. See ECF No. 46 at 24-28. Petitioners pointed to analogous examples in which court



                                                 14
Case 1:21-cv-02146-WJM Document 58 Filed 01/27/23 USDC Colorado Page 21 of 33




 have found IMs or similar decisions “legislative rules” subject to the APA’s requirements. Id. In

 response, BLM acknowledges that it did not conduct any public APA process in issuing these

 IMs, but asserts that the APA does not apply because the IMs are not legislative rules and are

 instead non-binding policy. See ECF No. 50 at 20-27. This assertion does not pass muster.

        At the outset, much of BLM’s argument rehashes its unpersuasive contention that the IMs

 are not final agency action because they do not create any rights or obligations. See id. Because

 Petitioners have already rebutted BLM’s erroneous position regarding rights and obligations in

 the final agency action context, we do not repeat that discussion here. See supra at 12-14.

        Moreover, it is instructive that the only case cited by BLM that is remotely similar to this

 matter is Friends of Animals v. Pendley, 523 F. Supp. 3d 39 (D.D.C. 2021). There, the court

 found that a BLM-issued IM was not a legislative rule. Id. However, there are multiple facts that

 easily distinguish that case from the AIP. For instance, unlike BLM’s creation of a permanent,

 nationwide self-titled “program” that BLM created through IM 2019-025 establishing the AIP,

 the IM in Pendley merely updated agency guidance outlining the minimum amount of time BLM

 field offices should consider allowing between wild horse removal decisions and the start of

 removals (reducing its recommendation from 31 days to 14 days). Id. at 49. But as the court

 correctly explained, that IM did not (and could not) create any new rights or obligations, because

 the statute and BLM’s implementing regulations already authorized BLM to remove horses

 without any pre-removal period—i.e., immediately after a decision. See id. at 54 (explaining that

 the Wild Horse Act requires BLM to “immediately” remove excess horses from the range, and

 BLM’s regulations state that “decisions to remove wild horses . . . shall be effective upon

 issuance”). Thus, the court found that the challenged IM “does not alter an existing legal right or

 obligation flowing from a statute or regulation.” Id. at 55.



                                                  15
Case 1:21-cv-02146-WJM Document 58 Filed 01/27/23 USDC Colorado Page 22 of 33




        In sharp contrast, the AIP both created rights and obligations that did not exist prior to IM

 2019-025 under statute or regulation, see supra at 12-14, and effectively amended BLM’s

 regulations by reversing the wild horse adoption payment structure from adopters paying BLM

 to directly fund BLM’s activities, to the opposite approach of BLM paying adopters to indirectly

 fund BLM’s activities. Compare 43 C.F.R. § 4700.0-6(f) (“Fees shall normally be required from

 qualified individuals adopting excess wild horses and burros to defray part of the costs of the

 adoption program.”), with ECF No. 50 at 23 (conceding that AIP cash incentives are “intended to

 help defray costs [incurred by adopters] associated with first-year care and feeding”). In these

 ways, the IMs establishing the AIP are the mirror image of the IM that the Pendley court

 concluded is not a legislative rule subject to notice-and-comment procedures under the APA.

        Likewise, in contrast to the AIP, the IM in Pendley did not require anything at all of

 BLM employees with respect to the duration of time required between a removal decision and

 the removal itself. Indeed, while stating that BLM would “strive” to allow “a minimum of 14

 days” between a decision and removing horses, the IM supplied unbridled discretion to BLM

 field offices to deviate from the 14-day-minimum guidance, including where there are

 “emergency situation[s] or other relevant management considerations.” Id. at 53; See also BLM,

 Permanent IM 2019-004 (Mar. 15, 2019) (“PIM 2019-004”), https://www.blm.gov/policy/pim-

 2019-004. Highlighting BLM’s nearly limitless discretion to rely on any “relevant management

 considerations” to depart from the IM’s timing recommendation, the IM created a wholesale

 exception to the recommendation by stating that field offices “should issue removal decision

 effective upon issuance” where the removal is necessary “to preserve or maintain a thriving

 natural ecological balance.” Id. This, of course, encompasses nearly every wild horse removal

 authorized by the Wild Horse Act and undertaken by BLM. See 16 U.S.C. § 1333(b)(2). Thus,



                                                 16
Case 1:21-cv-02146-WJM Document 58 Filed 01/27/23 USDC Colorado Page 23 of 33




 unlike the AIP that compels BLM officials for the first time ever to notify adopters at the time of

 adoption of their unqualified right to participate in the AIP if they meet the program’s eligibility

 criteria, see BLM_004920-21, the Pendley IM did not do anything but parrot the existing

 statutory framework and state BLM’s intention to “strive” to provide 14 days between decisions

 and removals, while giving field offices abundant latitude to deviate from that timeline.

        Finally, the Pendley IM did not confer any appeal rights if a BLM field office deviates

 from the 14-day recommendation. See PIM 2019-004. Here, however, BLM expressly afforded

 AIP-specific appeal rights to contest any determination that an adopter does not satisfy the

 agency’s eligibility criteria set forth in the AIP. See BLM_004927. Of course, there can only be

 due process if an entity has a legal right in the first instance. Cf. East v. Clayton Cnty., 436 F.

 App’x 904, 913 (11th Cir. 2011) (noting that if a party “did not have a legal right to these

 procedures . . . he had no due process rights to those procedures in the first place”). Although

 BLM attempts to cast this new appeal right as merely an existing due process framework, see

 ECF No. 50 at 23, the problem is that, for the first time, IM 2019-025 expressly applied the

 agency’s appeal framework to BLM’s nationwide AIP and such a right, by definition, could not

 and did not exist before the IM. Indeed, BLM’s regulations makes clear that the AIP appeal right

 conferred in the IMs, see BLM_004927, safeguards an adopter’s “legally cognizable interest” in

 AIP eligibility and payment—i.e., this is a required element for every BLM due process claim,

 including those determinations the AIP subjects to due process. 43 C.F.R. § 4.410(d). 6



 6
   In Pendley, the plaintiffs also challenged a different aspect of PIM 2019-004, which
 recommended that BLM field offices consider multi-year gather plans for wild horses to reduce
 administrative burdens. Although the plaintiffs feared this could lead to future removals without
 site-specific NEPA review, the court correctly noted that the IM “does not directly address, let
 alone alter, BLM’s continuing obligations to complete the relevant NEPA documents before a
 gather decision and to submit them for public comment.” Pendley, 523 F. Supp. 3d at 55.


                                                   17
Case 1:21-cv-02146-WJM Document 58 Filed 01/27/23 USDC Colorado Page 24 of 33




        In sum, the court correctly ruled that the IM in Pendley is not a legislative rule, and its

 reasoning also emphasizes precisely why the IMs here are legislative rules. See ECF No. 46 at

 24-28. Moreover, Pendley provides the perfect contrast to a different BLM IM that a court held

 to be a legislative rule, which is indistinguishable in relevant ways from the AIP IMs. See W.

 Watersheds Proj. v. Zinke, 441 F. Supp. 3d 1042 (D. Idaho 2020).

        The IM in Zinke was “effective immediately”; “had an immediate and practical impact”

 on members of the public; conferred “a right to appeal” any protest denied by BLM pursuant to

 the IM; and “does not clarify existing policy as much as it creates it.” Id. at 1067-68; see also

 BLM, IM 2018-034, https://www.blm.gov/policy/im-2018-034 (conferring a “right to appeal to

 the Interior Board of Land Appeals” any “decision to deny or dismiss a protest”). The AIP IMs

 have these same hallmarks. Specifically, the AIP IMs were “effective immediately”; had an

 immediate and practical impact that conferred a federal benefit on the public and saw a dramatic

 increase in wild horse adoptions; provided appeal rights for adverse determinations under the

 IM; and established a permanent, nationwide cash incentive adoption program and thus created a

 new agency-wide policy rather than clarifying it. In every pertinent respect, the challenged IMs

 are indistinguishable from the IM deemed a legislative rule in Zinke. 7




 7
   BLM highlights the IMs’ use of “should” rather than “shall” in certain instances, implying that
 BLM staff retains the “discretion” to “provide a cash incentive to adoption participants.” ECF
 No. 50 at 26. But the IMs themselves contain no such latitude. Rather, adopters must be notified
 of the ability to participate in the AIP “at the time of adoption,” and the IMs suggest that the only
 basis for withholding cash incentives is if an adopter is determined ineligible for failing to satisfy
 the criteria set forth in the AIP. BLM_004919-21; BLM_004927. Thus, despite artful drafting of
 the IMs, the practical effect makes clear that BLM staff may not withhold AIP payments from
 eligible adopters who meet all the criteria. See, e.g., Appalachian Power Co. v. EPA, 208 F.3d
 1015, 1023 (D.C. Cir. 2000) (“If an agency acts as if a document issued at headquarters is
 controlling in the field . . . then [it] is for all practical purposes ‘binding’”).

                                                  18
Case 1:21-cv-02146-WJM Document 58 Filed 01/27/23 USDC Colorado Page 25 of 33




        Accordingly, for the rationales set forth in Zinke, IM 2019-025 and IM 2022-014 are

 legislative rules subject to the APA’s requirements. Hence, because “the APA requires an agency

 to use notice-and-comment procedures to make any ‘rule,” Zinke, 441 F. Supp. 3d at 1067

 (quoting 5 U.S.C. § 553(b)-(c)), the challenged IMs should have been issued only after formal

 “notice-and-comment procedures” under the APA. Id. Because they were not, the Court should

 vacate the IMs pending legal compliance through notice-and-comment rulemaking.

        B.     The AIP Violates NEPA

        Petitioners previously explained why the first-ever permanent, nationwide cash incentive

 program for adoption of federally protected wild horses not only triggered NEPA review, but

 required an EIS or an EA due to the highly significant impacts of this new program, including

 the entry of many protected animals into the slaughter pipeline and the consequent removals of

 wild horses of increasing frequency and size (with myriad effects to wild horses and other range

 resources). See ECF No. 46 at 29-41. In response, BLM makes two unavailing arguments: (1)

 the AIP was not a new policy or program and thus was not subject to NEPA, and (2) if NEPA

 applies, BLM properly applied a CE and determined there are no extraordinary circumstances

 warranting preparation of an EIS or EA. See ECF No. 50 at 29-36.

               1.      The AIP Is a New Nationwide Program

        With respect to the former contention, BLM’s position is puzzling because it did invoke

 and rely upon a CE when issuing IM 2022-014, albeit only after Petitioners sued the agency for

 not conducting any NEPA review in connection with its creation of the AIP with IM 2019-025.

 On the one hand, BLM implies that the AIP was not “sea-change or even a new policy” so

 NEPA does not apply, id. at 30; on the other, BLM makes clear its view that its reliance on a CE




                                                19
Case 1:21-cv-02146-WJM Document 58 Filed 01/27/23 USDC Colorado Page 26 of 33




 satisfied the agency’s NEPA obligations. See id. at 34 (defending BLM’s reliance on a CE and

 stating that “CEs are a form of NEPA compliance” (citation omitted)).

        In any event, BLM’s position that the AIP was not a new program for NEPA purposes—

 and is part of a long-running cash-incentivized adoption program—is based on a fundamental

 misunderstanding of the differences between pilot projects and the permanent, nationwide AIP.

 See supra at 2-5. Regardless, because BLM subjected the AIP to NEPA review, the only

 question the Court must decide is whether BLM complied with NEPA by invoking a CE.

        2.      BLM Invoked a CE that Does Not Apply to the AIP

        As to BLM’s other argument, the agency is severely mistaken that it can avoid an EIS or

 EA here. The specific CE applied to the AIP is inapplicable to the facts; there is nothing “purely

 administrative” about the creation of a major new nationwide program that foreseeably results in

 many federally protected animals entering the slaughter pipeline and in nearly tripling the

 number of wild horses removed from the range. See supra at 7-8. Yet, once again, BLM refuses

 to come to grips with the fact the AIP is a completely different regulatory regime—applied for

 the first time ever on a permanent, nationwide basis—that is distinct from prior pilot projects.

 See ECF No. 50 at 31 (asserting the AIP was purely administrative because cash incentives

 “existed since at least 2009”). Agencies may not conflate these types of distinct actions under

 NEPA. See Rowan, 463 F.3d at 355, 358 (distinguishing for NEPA purposes pilot projects and

 subsequent, discretionary actions).

        The notion that the AIP is “purely administrative” is even more irrational because BLM

 applied this CE after receiving three years of data proving that AIP horses routinely enter the

 slaughter pipeline and that the AIP facilitates more frequent and larger wild horse removals.

 Although the use of this CE would have been highly suspect in 2019 given the AIP’s foreseeable



                                                 20
Case 1:21-cv-02146-WJM Document 58 Filed 01/27/23 USDC Colorado Page 27 of 33




 outcomes, it was especially flagrant in 2022 when BLM knew the AIP was causing significant

 effects to wild horses and range resources. Thus, BLM’s application of the CE fails on its face.

 See Pub. Emps. for Envtl. Resp. v. Nat’l Park Serv. (“PEER”), No. 19-cv-3629, 2022 WL

 1657013, at *19 (D.D.C. May 24, 2022) (rejecting CE because “any characterization of the

 Directive as purely ‘administrative, financial, legal, technical, or procedural’ strains credulity”);

 Utah Envtl. Cong. v. Russell, 518 F.3d 817, 825 (10th Cir. 2008) (rejecting CE for road repair

 and maintenance where agency proposed adding chemical road salt to roads); Wilderness Watch

 v. Mainella, 375 F.3d 1075, 1095 (11th Cir. 2004) (rejecting CE for “routine and continuing

 government business” because “[o]btaining a large van to accommodate fifteen tourists hardly

 appears to be a ‘routine and continuing’ form of administration”).

        BLM also has no persuasive response to the second essential element of the CE, which

 requires that it can be applied only where “environmental effects are too broad, speculative, or

 conjectural to lend themselves to meaningful analysis and will later be subject to the NEPA

 process, either collectively or case-by-case.” 43 C.F.R. § 46.210(i). BLM does not (and cannot)

 explain why, in 2022, it was conjectural that AIP-adopted horses would enter the slaughter

 pipeline, when BLM had detailed investigatory reports and other evidence demonstrating that

 fact since 2019. Nor does BLM justify why—at a programmatic, nationwide level—the agency

 could not, in 2022, analyze the impacts that would result from wild horse removals of greater

 frequency and scope facilitated by AIP funding, as had occurred for several successive years.

        Rather than conducting that broader analysis of this new nationwide program as required

 by NEPA, BLM instead focuses on the logistics related to single removals from “individual herd

 management areas,” ECF No. 50 at 32-33. This apples-to-oranges comparison of programmatic

 NEPA review and site-specific NEPA review undermines BLM’s application of this CE. See



                                                   21
Case 1:21-cv-02146-WJM Document 58 Filed 01/27/23 USDC Colorado Page 28 of 33




 PEER, 2022 WL 1657013, at *20 (rejecting assertion that “[a]ddressing potential environmental

 and social impacts are most meaningful at the park level” because it “mistakenly treats park-level

 analysis and national-level analysis as an either/or proposition”); id. (“[T]he entire purpose of

 tiering in NEPA analysis is to make both levels of review meaningful by ‘incorporat[ing] by

 reference the general discussions of prior, broader [EISs]’ on ‘site-specific environmental

 analyses.’” (quoting Theodore Roosevelt Conservation P’ship v. Salazar, 616 F.3d 497, 512

 (D.C. Cir. 2010)); cf. Kleppe v. Sierra Club, 427 U.S. 390, 400-01 (1976) (contrasting a “new

 national coal-leasing program” requiring a programmatic EIS due to “significant environmental

 consequences” with smaller regional proposals). Thus, the CE doubly fails. 8

        Moreover, the amicus brief’s view that “the future impacts of hypothetical actions an

 agency might take with resources saved by a challenged decision are inherently indirect and

 speculative” because they could be used on any number of agency efforts, ECF No. 54 at 9, is

 undercut by the brief’s concession that, in fact, “an increase in removals [since 2019] . . . has

 caused the on-range population to decrease in consecutive years for the first time since 2007.” Id.

 at 7. The fact that there might be better, horse-protective alternative uses of these funds also

 highlights why BLM must subject to NEPA review all available options for using the newly

 available AIP funds. Indeed, the Supreme Court already concluded that budgetary decisions with

 environmental impacts require preparation of an EIS. See Andrus v. Sierra Club, 442 U.S. 347

 (1979) (holding that an “EIS must be prepared if any of the revisions the [agency] proposes in its

 ongoing programs in response to OMB’s budget cuts would significantly affect the quality of the




 8
   For this reason, BLM’s assertion that there will be later site-specific NEPA review—even if
 true—does not cure the agency’s failure to conduct a programmatic EIS or EA for the
 nationwide AIP now. See ECF No. 50 at 34.
                                                  22
Case 1:21-cv-02146-WJM Document 58 Filed 01/27/23 USDC Colorado Page 29 of 33




 human environment,” but noting that requiring the agency “include a[] [separate] EIS with its

 revised appropriation request would merely be redundant”).

                3.      Extraordinary Circumstances Preclude Use of a CE

        The Court need not even consider government counsel’s post hoc rationalizations in

 invalidating BLM’s failure to analyze the existence of extraordinary circumstances, see ECF No.

 50 at 35-36, because the agency failed to document that evaluation in the record. BLM_004916

 (asserting only that “[t]he proposed action has been reviewed with the list of extraordinary

 circumstances” and “none of these circumstances apply”). “Stating that a factor was considered,

 however, is not a substitute for considering it.” Getty v. Fed. Sav. & Loan. Ins. Corp., 805 F.2d

 1050, 1055 (D.C. Cir. 1986). Accordingly, because “[i]t is well-established that an agency’s

 action must be upheld, if at all, on the basis articulated by the agency itself,” there is no basis

 here for upholding BLM’s determination regarding extraordinary circumstances. Motor Vehicle

 Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 50 (1983).

        If the Court considers counsel’s assertions, they do not cure BLM’s NEPA failures. Yet

 again, counsel conflates the prior pilot projects resulting in nominal effects with the new

 permanent, nationwide AIP resulting in major, widescale effects. See ECF No. 50 at 36. By “not

 only fail[ing] to address” the relevant effects of the action but “den[ying] its very existence,”

 BLM took a “head-in-the-sand approach . . . [that] is the antithesis of NEPA’s requirement that

 an agency’s environmental analysis candidly confront the relevant environmental concerns.” Am.

 Wild Horse Pres. Campaign v. Perdue, 873 F.3d 914, 931 (D.C. Cir. 2017).

        Accordingly, BLM’s creation of a new nationwide program with highly significant

 effects on wild horses and range resources required an EIS or at least an EA.




                                                   23
Case 1:21-cv-02146-WJM Document 58 Filed 01/27/23 USDC Colorado Page 30 of 33




         C.      The AIP Is Arbitrary and Capricious

         Compounding its notice-and-comment and NEPA violations, BLM created and modified

 the AIP without considering relevant factors including: (1) whether the AIP would violate the

 Congressional prohibition against BLM funds being used in a manner that results in slaughter of

 wild horses; (2) whether cash-incentivized adopters will treat horses humanely as required by the

 Wild Horse Act; and (3) and whether limiting the AIP to untrained horses increases the

 likelihood of horses being slaughtered. See ECF No. 46 at 42-45. BLM’s responses—which

 failed even to address the second and third relevant factors—cannot pass muster.

         BLM insists the AIP does not violate the Congressional prohibition against BLM selling

 wild horses for slaughter because the agency washes its hands of this problem once it transfers

 title to adopters; in other words, BLM adopts these horses that enter the slaughter pipeline, but

 BLM does not itself sell them. See ECF No. 50 at 36-38, 42. Although a clever attempt to bypass

 Congress’s intent, this is plainly not consistent with federal law. By creating a program that

 foreseeably (and, in 2022, knowingly) results in adopters obtaining wild horses from BLM and

 selling them for slaughter in a manner BLM itself cannot lawfully do, BLM acted arbitrarily and

 capriciously and failed to consider relevant factors before issuing the challenged IMs.

         Likewise, BLM ignores the salient fact that Congress limited the agency’s use of

 appropriated funds for two separate actions: (1) “the destruction of any healthy, unadopted, and

 wild horse or burro under the jurisdiction of the Secretary” (i.e., BLM); and (2) “the sale of a

 wild horse or burro that results in the destruction of the wild horse or burro for processing into a

 commercial product.” Pub. L. No. 116-94, 133 Stat. 2534, 2747 (2019). Whereas Congress

 expressly restricted the first limitation to wild horses still “under the jurisdiction of the

 Secretary”—i.e., horses that BLM has yet to title to third parties—Congress did not similarly



                                                    24
Case 1:21-cv-02146-WJM Document 58 Filed 01/27/23 USDC Colorado Page 31 of 33




 restrict the second limitation to those horses that remain in BLM’s care. Id. This is an important

 distinction; because Congress did not restrict the second limitation on BLM’s use of appropriated

 funds to pre-titled wild horses, BLM necessarily is foreclosed under federal law from spending

 any appropriated funds (through the AIP or otherwise) that foreseeably leads to anyone engaging

 in “the sale of a wild horse or burro that results in the destruction of the wild horse or burro for

 processing into a commercial product.” Id. Because that is precisely the outcome of the AIP,

 BLM acted arbitrarily and capriciously in creating this program without considering its

 conformance with the statutory prohibitions Congress has placed on BLM’s use of funds.

        BLM also mistakenly points to a “decision” or “finding” the agency made in purportedly

 considering “whether the adoption incentive would motivate adopters to adopt animals and then

 sell them for profit.” ECF No. 50 at 41; see also id. at 12, 16. But this fails for several reasons.

 First, this was not a formal decision; it was a self-serving letter responding to Senator Feinstein’s

 grave concerns about the AIP. See BLM_004563-64. Second, BLM sent this letter in 2021, post-

 dating BLM’s decision to create the AIP by more than two years, highlighting that BLM did not

 meet its legal obligation to consider relevant factors in 2019 when creating the AIP. Third, when

 given the chance in 2022—at the time BLM modified the AIP through IM 2022-014—BLM

 neither made any formal decision, let alone conducted any underlying analysis in the record,

 concluding that “the required investment to feed and care for a horse or burro for 12 months []

 serves as a strong disincentive to adopt animals with an eye toward turning them for profit, even

 with the $1,000 incentive payment” because “it can typically cost several thousand dollars per

 year to provide good feed and care for a horse.” BLM_004564. Indeed, as explained herein,

 BLM knew in 2022, on the basis of extensive record evidence, that adopters were, in fact,

 adopting horses for profit, failing to adequately feed and care for them, and then selling them



                                                   25
Case 1:21-cv-02146-WJM Document 58 Filed 01/27/23 USDC Colorado Page 32 of 33




 into the slaughter pipeline. In short, BLM neither made any formal finding that adopters would

 not utilize the AIP solely for profit nor supported (or could support) that proposition.

        Accordingly, for this reason and those previously explained, BLM failed to consider

 relevant factors in creating and modifying the AIP, and thus violated the APA. See State Farm,

 463 U.S. at 43 (“Normally, an agency [action] would be arbitrary and capricious if the agency

 has relied on factors which Congress has not intended it to consider.”)

 III.   VACATUR IS THE PROPER REMEDY

        Petitioners requested that the Court apply the APA’s statutory mandate to “set aside”

 arbitrary, capricious, and unlawful agency action by vacating the IMs and CE. 5 U.S.C. § 706(2).

 BLM insists that the Court should instead remand those decisions without vacatur. See ECF No.

 50 at 43-44. However, its one-paragraph justification, id. at 44, does not remotely satisfy its

 formidable burden to obtain this extraordinary equitable remedy. See, e.g., Rocky Mountain Wild

 v. Dallas, No. 19-cv-1512, 2022 WL 11733139 (D. Colo. Oct. 20, 2022) (Arguello, J.) (“[T]he

 party seeking to avoid vacatur of agency action bears the burden of showing entitlement to such

 extraordinary relief by presenting extraordinary facts that would support an exception.”).

        BLM contends that it can attempt to cure its errors on remand by subjecting the AIP to

 notice-and-comment procedures and NEPA review, and thus vacatur is not warranted. See ECF

 No. 50 at 44. But that is true every NEPA case; yet, “[t]he typical remedy for . . . [a] violation of

 NEPA is remand to the district court with instructions to vacate the agency action.” High Cty.

 Conservation Advocs. v. U.S. Forest Serv., 951 F.3d 1217, 1228 (10th Cir. 2020).

        BLM also asserts that vacatur would be “disruptive” because “BLM officials would lack

 consistent guidance on how to uniformly apply adoption incentives nationally.” ECF No. 50 at

 44. This assertion is overblown; there was no nationwide program governing cash-based



                                                  26
Case 1:21-cv-02146-WJM Document 58 Filed 01/27/23 USDC Colorado Page 33 of 33




 adoptions from 1971 to 2019 and BLM managed without major disruption. See Or.-Cal. Trails

 Ass’n v. Walsh, 467 F. Supp. 3d 1007, 1074 (D. Colo. 2020) (Martinez, J.) (vacating action

 where entities “have thus far managed to continue their operations without serious disruption”).

        Further, any nominal disruption to the agency’s adoption program while it comes into

 legal compliance cannot outweigh the fact that remand without vacatur will send many more

 federally protected horses to horrific death by slaughter while BLM conducts its APA and NEPA

 processes. Accordingly, vacatur is the appropriate outcome.

                                         CONCLUSION

        Petitioners respectfully request that the Court vacate the IMs and CE, and remand those

 decisions to BLM for further consideration.



                                                               Respectfully submitted,

                                                               /s/ William S. Eubanks II
                                                               William S. Eubanks II
                                                               bill@eubankslegal.com

                                                               Elizabeth L. Lewis
                                                               lizzie@eubankslegal.com

                                                               EUBANKS & ASSOCIATES, PLLC
                                                               1629 K Street NW, Suite 300
                                                               Washington, DC 20006
                                                               (970) 703-6060

                                                               Counsel for Petitioners




                                                27
